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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           NORTHERN DIVISION

TAILGATE NATION, INC.,                )
et al.,                               )
                                      )
                 Plaintiffs,          )
                                      )
         vs.                          )         Case No. 4:08-CV-1040 (CEJ)
                                      )
TOP MARKETING USA,                    )
et al.,                               )
                                      )
                 Defendants.          )

                           ORDER OF DISMISSAL

     After advising the Court that they had reached a settlement,

plaintiffs and defendants Top Marketing USA and Anheuser-Busch,

Inc., were directed to file their stipulation for dismissal by

January 5, 2009.    The parties were warned that the action would be

dismissed by the Court with prejudice if they failed to meet the

deadline for filing the stipulation. To date, the parties have not

complied with the order to file a stipulation for dismissal.

     Accordingly,

     IT IS HEREBY ORDERED that this action is dismissed with

prejudice.     The costs shall be borne equally by the parties or in

such manner as may be consistent with the parties’ settlement

agreement.

     IT IS FURTHER ORDERED that the Court shall retain jurisdiction

of this action for the sole purpose of determining whether to

enforce the settlement upon motion of any party.




                                          ____________________________
                                          CAROL E. JACKSON
                                          UNITED STATES DISTRICT JUDGE

Dated this 28th day of January, 2009.
